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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  COVINGTON DIVISION
                           CIVIL ACTION NO. 2:16-cv-197-DLB-CJS

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                ANSWER OF KENTUCKY HOUSING CORPORATION

TAMMY J. KAISER, ET AL.                                                              DEFENDANTS

                                          ** ** ** ** **

       Comes the Defendant, Kentucky Housing Corporation (hereinafter “KHC”), by counsel and

for its Answer to the Plaintiff’s Complaint herein states as follows:

       1.      KHC is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in paragraphs 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 15, 16 and 17 of the

Complaint, and therefore denies same; however, Defendant does not deny matters accurately and

properly reflected by public record.

       2.      KHC admits only so much of the allegations contained in paragraph 13 of the

Complaint insofar as same state that Kentucky Housing Corporation may be claiming an interest in

the real property that is the subject of the Complaint because of the Mortgage filed of record in

Mortgage Book 3548, Page 292, in the Office of the Clerk of Boone County, Kentucky.

       3.      Any allegations not expressly admitted herein are hereby denied.

       4.      KHC affirmatively pleads that its Mortgage on the real property that is the subject of

this Action constitutes a valid and enforceable lien with a priority as determined by the real estate

records of Boone County, Kentucky.

       5.      KHC affirmatively reserves the right, including as necessary the right to amend its

answer and response to this action, to assert and/or bring any claims that it may have on the

underlying obligations owed to it which are secured by its Mortgage lien, against Defendants,

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Tammy J. Kaiser, and any other individuals who are obligated for the payment of same.

               WHEREFORE, the KHC demands:

       1.      That KHC be adjudged to have a valid and enforceable Mortgage lien on real property

that is the subject of the Complaint with a priority as determined by the real estate records of the

Office of the County Clerk of Boone, Kentucky.

       2.      That KHC be adjudged to have reserved the right to assert and/or bring any claims

that it may have on the underlying obligations owed to it which are secured by its Mortgage lien,

against Defendants, Tammy J. Kaiser, and any other individuals who are obligated for the payment

of same, including any necessary amendments to its answer and/or response to this action.

       3.      For its costs herein expended, including reasonable attorney fees.

       4.      For any and all proper relief to which it may now or hereafter appear entitled.



                                                            /s/ Megan P. Keane
                                                     GOLDBERG SIMPSON, LLC
                                                     STEPHEN R. SOLOMON
                                                     MEGAN P. KEANE
                                                     9301 Dayflower Street
                                                     Prospect, Kentucky 40059
                                                     Phone: (502) 585-8551
                                                     Fax: (502) 581-1344
                                                     Counsel for Kentucky Housing Corporation

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was served by United States
mail, sufficient postage prepaid, this 6th day of January, 2017, upon the following:

Foreman Watson Holtrey, LLP
Lauren B. Durham
530 Frederica Street
Owensboro, Kentucky 42301
Counsel for Plaintiff


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Tammy J. Kaiser
Unknown Spouse of Tammy J. Kaiser
128 Haley Lane
Walton, Kentucky 41094

Harvest Credit Management, LLC
600 17th Street, Ste 2800S
Denver, Colorado 80202

LVNV Funding, LLC
625 Pilot Road, Ste 3
Las Vegas, Nevada 89119

City of Walton, Kentucky
c/o Mark Carnahan, Mayor
P. O. Box 95
Walton, Kentucky 41094


                                               /s/ Megan P. Keane
                                           MEGAN P. KEANE




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